       Case 2:18-cv-01698-RJC Document 357 Filed 02/14/22 Page 1 of 9




                     IN THE UNITED STATES DISTRICT COURT

                FOR THE WESTERN DISTRICT OF PENNSYLVANIA

HORACE CLAIBORNE, SONJIA                    CIVIL ACTION
MONIQUE BOWLIN, TYSHAWN
WALKER, DEZRAE KAUHANE, WILLIE              No. 2:18-cv-01698-RJC
SEALS, FREDERICK EPPICH, JEROME
SCHOOLFIELD, KRISTINA TRAVIS,
JEREMY WINKELS, DANIEL
FORRESTER, MARK DAVID GRIFFETH,
DOUGLAS RUSSELL, KENNETH
BURTON, GERALD GENSOLI, and
THOMAS DEPPIESSE, on behalf of
themselves and others similarly situated,

             Plaintiffs,

v.

FEDEX GROUND PACKAGE SYSTEM, INC.,

             Defendant.



 DEFENDANT FEDEX GROUND PACKAGE SYSTEM, INC.’S MEMORANDUM IN
     SUPPORT OF ITS OPPOSED MOTION TO DISMISS WITH PREJUDICE
DISCOVERY OPT-INS, FROM THE INITIAL 500, WHO FAILED TO COMPLY WITH
          THE COURT’S DECEMBER 7, 2021, DISCOVERY ORDER
           Case 2:18-cv-01698-RJC Document 357 Filed 02/14/22 Page 2 of 9




       Defendant FedEx Ground seeks an order dismissing with prejudice those opt-in Plaintiffs

who failed to provide complete questionnaire responses or document productions (or both) by

January 6, 2022, in accordance with the Court’s December 7, 2021, Order, and still have not

through the date of the filing of FedEx Ground’s motion.

                     FACTUAL AND PROCEDURAL BACKGROUND

       On March 29, 2021, FedEx Ground served on 500 opt-in Plaintiffs the parties’ agreed-to

discovery questionnaire. (See ECF 320 (Memo. in Supp. of Mot. to Compel) at 1 (citing ECF

308 at 2).) The Court ordered these 500 opt-ins to fully respond to the questionnaire and its

accompanying document requests by November 1, 2021. (ECF 308 at 1.) The Court further

ordered that FedEx Ground file an unopposed motion to compel by December 3, 2021,

addressing any opt-ins who failed to fully respond by November 1. (Id. at 2.) FedEx Ground

complied, filing its unopposed motion to compel and accompanying papers (ECF 319, 320),

which motion the Court granted on December 7, 2021 (ECF 321). The Court’s December 7

Order required all non-compliant opt-ins identified in FedEx Ground’s motion papers to fully

respond to the questionnaire and make full document productions within 30 days of entry of that

order. (Id.) Those opt-ins’ deadline to comply with the Court’s Order was January 6, 2022.

       The majority of those opt-ins still have failed to complete their discovery obligations. On

January 21, 2022, FedEx Ground filed its unopposed motion to dismiss with prejudice those 203

discovery opt-ins that had not responded to discovery or the Court’s order compelling responses

in any way. 1 (See ECF 348-49.) FedEx Ground now moves to dismiss with prejudice those 140

opt-ins that have not fully responded to either the questionnaire or completed document



       1
         Plaintiffs’ counsel inadvertently did not produce a questionnaire that was completed,
and did so recently. As a result, this number is 202, not 203.


                                                 1
         Case 2:18-cv-01698-RJC Document 357 Filed 02/14/22 Page 3 of 9




productions (or both). (See Exhibit A (chart of opt-ins who were subject to December 7 order

who are still non-compliant; those with strikethroughs are being addressed in FedEx Ground’s

previously-filed unopposed motion to dismiss with prejudice).)

                                          ARGUMENT

       The Court previously recognized that opt-in Plaintiffs in a Fair Labor Standards Act

(“FLSA”) putative collective action have an obligation to participate in discovery. (See, e.g.,

ECF 321 (order granting motion to compel discovery from opt-ins); ECF 308 at 1-2 (case

management order directing opt-ins to respond to discovery); ECF 294 at 1 (order allowing

discovery of opt-ins).) See also, e.g., Bonds v. GMS Mine Repair and Maint., Inc., No. 2:13–cv–

1217, 2014 WL 6682475, at *2 (W.D. Pa. Nov. 25, 2014) (discussing two lines of cases allowing

discovery from all opt-ins or a subset, and allowing written discovery from a subset of opt-ins).

       The Court also has recognized that both named and opt-in plaintiffs in an FLSA action

may be dismissed with prejudice for a failure to comply with discovery. (ECF 294 at 2

(dismissing with prejudice named Plaintiff Sullivan-Blake as well as opt-ins who were subject to

an order compelling discovery but did not comply).) See also Camesi v. Univ. of Pittsburgh Med.

Ctr., No. 09–85J, 2010 WL 2104639, at *11 n.14 (W.D. Pa. May 24, 2010) (because opt-ins are

party-plaintiffs, they are subject to “the consequences of their failure to cooperate” with

discovery).

       These precepts follow from the fact that Rule 37 of the Rules of Civil Procedure applies

equally to FLSA opt-in plaintiffs. See generally Flores v. Velocity Express, LLC, No. 12-cv-

05790-JST, 2017 WL 3394144, at *4 (N.D. Cal. Aug. 8, 2017) (applying Rule 37 to opt-in

plaintiffs, granting motion requesting dismissal); Marshall v. Louisiana State, No. 15-1128, 2017

WL 90655, at *4-5 (E.D. La. Jan. 10, 2017) (applying Rule 37 to opt-in plaintiffs, granting

dismissal); see also Dinkel v. Medstar Health Inc., 304 F.R.D. 339, 348 (D. D.C. 2014)


                                                 2
         Case 2:18-cv-01698-RJC Document 357 Filed 02/14/22 Page 4 of 9




(applying Rule 37, ordering opt-ins to respond and warning them they would face dismissal for

further failure to comply); Vaughan v. M - Entm’t Props., LLC, No. 1:14-CV-914-SCJ, 2016 WL

7428212, at *2 (N.D. Ga. Feb. 1, 2016) (granting opt-ins additional short period in which to

respond before considering dismissal); Cooper v. East Coast Assemblers, Inc., No. 12-80995-

CIV, 2014 WL 12862695, at *1 (S.D. Fla. Feb. 4, 2014) (same). Rule 37 condones dismissal

with prejudice when a plaintiff has failed to comply with a court order. Fed. R. Civ. P.

37(b)(2)(A)(v); see also Nat’l Hockey League v. Metro. Hockey Club, Inc., 427 U.S. 639, 643

(1976) (affirming grant of dismissal with prejudice for failure to respond to discovery); Poulis v.

State Farm Fire and Cas. Co., 747 F.2d 863, 866, 868 (3d Cir. 1984) (dismissal with prejudice

warranted when there has been a clear record of delay, considering the party’s personal

responsibility for that delay, the prejudice caused by the delay, the history of delay, whether the

conduct was in bad faith, the effectiveness of less severe sanctions, and the merits of the claims

and defenses at issue).

       The 140 opt-ins at issue in this motion are those that have provided some sort of

response, but deficient responses and productions. They fall into one or more of the following

categories and each deficiency is specifically identified in the footnotes in Exhibit A:

(i) indicated in their questionnaire responses that they have documents but have not produced

them; (ii) are current drivers and have not produced paystubs, hours, or contact information for

their current employment (when they would indisputably have ready access to that information);

(iii) have provided incomplete answers (or no answers at all) to key questions; and/or




                                                 3
           Case 2:18-cv-01698-RJC Document 357 Filed 02/14/22 Page 5 of 9




(iv) Plaintiffs’ counsel have produced only an unsigned questionnaire (with thus no way to

confirm the opt-ins actually provided the answers or verified they were correct). 2

       Plaintiffs have not disputed the details of Exhibit A or the missing information. Rather,

Plaintiffs take the position that because these opt-ins at least partially participated, they should be

exempt from dismissal. Plaintiffs have made this argument to the Court previously, however,

regarding an earlier set of discovery opt-ins, and the Court ruled as follows:

       Turning to the individuals who have submitted, to date,[] what the parties seem to
       acknowledge are incomplete responses to outstanding discovery requests, the
       Court is not inclined to dismiss these individuals, with or without prejudice, at
       this time. As noted above, dismissal, especially with prejudice, is an “extreme”
       sanction, and these parties’ attempts to comply with discovery requirements
       sufficiently distinguishes them from Sullivan-Blake and the opt-ins who have
       simply ignored discovery.
       The Court is, however, mindful that the parties reached an agreement that these
       opt-ins would be subject to discovery, and that the parties further reached an
       agreement respecting the manner and content of such discovery. [] This Court
       entered an Order compelling production with that agreement. [] Plaintiffs do not,
       in any material way, challenge the assertion that these individuals’ responses to
       date are lacking, and have stated that they will continue to work with opt-ins to
       produce the discovery at issue. [] The Court acknowledges FedEx’s desire for a
       definite deadline for production consistent with the parties’ agreement and this
       Court’s order, but also acknowledges these opt-ins’ efforts to meaningfully
       participate in this litigation. Balancing these interests, the Court will afford these
       individuals a final opportunity to fully comply with the outstanding discovery
       requests. Should they fail to do so, the Court is inclined to dismiss these
       individuals with prejudice for reasons materially similar to those discussed above
       with respect to Sullivan-Blake and those opt-ins who have ignored discovery to
       date.

(ECF 293 at 25-26 (emphasis added; footnotes and citations omitted).)

       The opt-ins identified in Exhibit A have now twice been ordered to fully comply with

their discovery obligations in this case (discovery served almost a year ago), and their failure to


       2
         To be clear, there are many discovery opt-ins that have not produced documents, but
unless they are a current driver or stated that they do in fact have documents but did not produce
them, they are not included in Exhibit A or FedEx Ground’s request for dismissal, nor were they
previously included in the unopposed motion to compel.


                                                  4
         Case 2:18-cv-01698-RJC Document 357 Filed 02/14/22 Page 6 of 9




fully comply is exactly the type of partial compliance the Court previously indicated would lead

it to be inclined to dismiss those opt-ins with prejudice. (ECF 308 at 1 (ordering full discovery

responses and productions by Nov. 1, 2021); ECF 321 at 1 (ordering full discovery responses

and productions by Jan. 6, 2022, and warning that non-complaint opt-ins may be dismissed with

prejudice).) FedEx Ground asks the Court to apply the above principles now to those of the

initial 500 opt-ins selected for discovery who have failed to fully comply first with the Court’s

order setting a deadline to fully respond (ECF 308) and then again with the Court’s December 7,

2021, Order compelling full questionnaire responses and document productions (ECF 321), and

dismiss them with prejudice.

                                         CONCLUSION

       Because they have failed to fully comply with the Court’s December 7, 2021, Order and

produce full questionnaire responses and/or full document productions, FedEx Ground

respectfully requests the Court dismiss with prejudice those opt-in Plaintiffs identified in the

attached Exhibit A, as the Court has done (and indicated it would do in the future) with other

non-participating and partially-participating opt-ins.


Dated: February 14, 2022                       Respectfully submitted,



                                               s/ David J. Schaller
                                               Jessica G. Scott
                                               David J. Schaller
                                               Wheeler Trigg O’Donnell LLP
                                               370 Seventeenth Street, Suite 4500
                                               Denver, CO 80202-5647
                                               Telephone:     303.244.1800
                                               Facsimile:     303.244.1879
                                               Email: scott@wtotrial.com
                                               Email: schaller@wtotrial.com




                                                 5
Case 2:18-cv-01698-RJC Document 357 Filed 02/14/22 Page 7 of 9




                            Joseph P. McHugh
                            Shanicka L. Kennedy
                            FedEx Ground Package System, Inc.
                            1000 FedEx Drive
                            Moon Township, PA 15108
                            Telephone:    412.859.5917
                                          412.859.5792
                            Facsimile:    412.859.5450
                            Email: joseph.mchugh@fedex.com
                                   shanicka.kennedy@fedex.com

                            Attorneys for Defendant
                            FedEx Ground Package System, Inc.




                              6
        Case 2:18-cv-01698-RJC Document 357 Filed 02/14/22 Page 8 of 9




                         CERTIFICATE OF SERVICE (CM/ECF)

       I HEREBY CERTIFY that on February 14, 2022, I electronically filed the foregoing
DEFENDANT FEDEX GROUND PACKAGE SYSTEM, INC.’S MEMORANDUM IN
SUPPORT OF ITS OPPOSED MOTION TO DISMISS WITH PREJUDICE
DISCOVERY OPT-INS, FROM THE INITIAL 500, WHO FAILED TO COMPLY
WITH THE COURT’S DECEMBER 7, 2021, DISCOVERY ORDER with the Clerk of
Court using the CM/ECF system which will send notification of such filing to the following
email addresses:

   •   Shannon Liss-Riordan
       sliss@llrlaw.com, zrubin@llrlaw.com, courts@llrlaw.com

   •   Michelle Cassorla
       mcassorla@llrlaw.com

   •   Zachary L. Rubin
       zrubin@llrlaw.com

   •   Peter Winebrake
       pwinebrake@winebrakelaw.com

   •   R. Andrew Santillo
       asantillo@winebrakelaw.com

   •   Mark J. Gottesfeld
       mgottesfeld@winebrakelaw.com

   •   Michelle L. Tolodziecki
       tuf22843@temple.edu, mtolodziecki@winebrakelaw.com

   •   Brian D. Gonzales
       BGonzales@ColoradoWageLaw.com

   •   Joseph P. McHugh
       joseph.mchugh@fedex.com, susan.kernen@fedex.com, amy.chambers@fedex.com

   •   Shanicka L. Kennedy
       shanicka.kennedy@fedex.com, troy.rivetti@usdoj.gov, CaseView.ECF@usdoj.gov,
       usapaw.ecfcriminal@usdoj.gov

   •   Jessica Goneau Scott
       scott@wtotrial.com, umaguing@wtotrial.com

   •   Andrew H Myers
       myers@wtotrial.com, keitlen@wtotrial.com, halvorsen@wtotrial.com,
       meyer@wtotrial.com
     Case 2:18-cv-01698-RJC Document 357 Filed 02/14/22 Page 9 of 9




•   Michele O. Choe
    choe@wtotrial.com

•   Brian Ruocco
    ruocco@wtotrial.com

•   Nick A. Nykulak
    nnykulak@rbslaw.com, kbasta@rbslaw.com

•   Sean S. Kelly
    skelly@rbslaw.com, kbasta@rbslaw.com

•   John R. Schneider
    john@johnsonschneider.com, sasha@johnsonschneider.com



                                    s/ David J. Schaller
                                    David J. Schaller




                                       2
